    Case 6:23-cv-00013 Document 14-1 Filed on 03/06/23 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

STATE OF TEXAS,                                )
GUN OWNERS OF AMERICA, INC.,                   )
GUN OWNERS FOUNDATION, and                     )
BRADY BROWN,                                   )
                                               )    Case No. 6:23-cv-00013
   Plaintiffs,                                 )
                                               )
      v.                                       )
                                               )
BUREAU OF ALCOHOL, TOBACCO,                    )
FIREARMS AND EXPLOSIVES, UNITED                )
STATES DEPARTMENT OF JUSTICE, and              )
STEVEN M. DETTELBACH in his official           )
capacity AS THE DIRECTOR OF ATF,               )
                                               )
   Defendants.                                 )

                         ORDER INCREASING WORD LIMIT


      On Plaintiffs’ unopposed motion, the word limit for their Motion for Preliminary

Injunction is increased to 6,500 words.

      Signed: _________________________________, 2023.




                                               _________________________________
                                               Drew S. Tipton
                                               United States District Judge




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